Case 2:04-CV-02626-SHI\/|-tmp Document 64 Filed 08/16/05 Page 1 of 6 Page|D 46

 

J:N THE UNITED s'rA'rEs DISTRICT coun'r F"'ED B'Y _,_ y ac
FoR THE wEs'rERN D:csTR:ccT or TENNESSEE '
wEs'rERN n:cv:l:s::on 95AUG 15 PH h 58
Mv#§e¢ ¢
CLEHK U_§_`_fg»§€§”bn
GREGORY BRAY, C'i” M;DH;S
Plaintiff,

vsl

GERALD STIPANUK, ET AL.,

Defendants.

No. 04-2626 MaP

vy`iv\-fvvv`-i`i"

 

ORDER GRANTING DEFENDANTS' MOTION TO AMEND ANSWER

 

Before the court is Defendants Gerald Stipanuk, Tony Cooper,

and Lyle Reece's Motion to Amend Answer, filed June 16, 2005 (dkt

#46). Plaintiff Gregory Bray filed his response on June 23, 2005.

For the following reasons, the motion is GRANTED.

Defendants seek an order allowing them to file an amended

answer that includes the following additional affirmative defenses:

8. These defendants aver that they are not liable under
any theory including respondeat superior under 42 U.S.C.
§ 1983, the Bth Amendment or otherwise.

9. If the facts of this case, as developed during
discovery or trial, reveal that the action was untimely
filed, these defendants will rely upon the applicable
statute of limitations and/or repose as a complete

defense.

10. The damages, if any, recoverable in this action must
be diminished or apportioned to the fault attributable to
all persons and entities contributing thereto.

Ti-is document entered on the doc t she t in co pliance
wnn sue 55 ana/or ?9{3) FRCP on lli_(§

Case 2:04-CV-02626-SHI\/|-tmp Document 64 Filed 08/16/05 Page 2 of 6 Page|D 47

Defendants claim that “an examination of the facts and
allegations pertinent to this case, including the plaintiff's
complaint and medical records received to date, requires that the
defendants offer additional affirmative defenses.” (Motion at 1.)
Bray argues that the motion should be denied because the Defendants
did not consult with him prior to filing the motion.1 He also
states that Defendants' answers “are no different from their
original answers to the complaint.” (Response at 1.)

Rule 15(a) of the Federal Rules provides that “a party may
amend the party's pleading only by leave of court or by written
consent of the adverse party; and leave shall be freely given when
justice so requires.” Fed. R. Civ. P. 15(a). Leave to amend a
responsive pleading may be granted when the amendment does not
serve a dilatory purpose, the opposing side will not suffer undue
prejudice or surprise, and the amendment will not prove futile.

Foman v. Davis, 371 U.S. 178, 182-83 (1962); Smith v. Sushka, 117

 

F.3d 965, 969 (6th Cir. 1997). Furthermore, the Supreme Court held
that courts should liberally grant parties leave to amend. Egm§n,
371 U.S. at 182.

These amendments do not appear to serve a dilatory purpose,

nor would they be futile. Furthermore, Bray does not contend nor

 

lAlthough it does appear that Defendants did not consult
with Plaintiff prior to filing this motion, this violation of the
Local Rules generally results in the motion being denied without
prejudice, with a right to refile. Thus, the court will address
the merits of the motion.

_2_

Case 2:04-CV-02626-SHI\/|-tmp Document 64 Filed 08/16/05 Page 3 of 6 Page|D 48

demonstrate that allowing Defendants to amend their pleading will
have any prejudicial effect against his claint Far from a
surprise, Bray contends that the amended answers “are no different
from their original answers to the complaint.” A significant
factor in persuading the court that there is no prejudicial effect
is that Defendants’ motion was filed within the deadline provided
by the court in its Scheduling Order. Thus, allowing Defendants
leave to amend will not result in the “unexpected ambush” that
Federal Rule 8(c) was designed to protect against. _g§ Robinson v.
Johnson, 313 F.3d 128, 135 (3rd Cir. 2002) (quoting Perez v. United
States, 830 F.2d 54, 57 (5th Cir. 1987)).

Moreover, Defendants seek to include these additional
affirmative defenses through the proper channel afforded them by
the Federal Rules - an amended pleading - rather than in a
dispositve motion. Thus, the present case bears little resemblance
to cases in which a party was denied the ability to raise
affirmative defenses after its initial responsive pleading. §§§
Scott v. Collins, 286 F.3d 923 (6th Cir. 2002) (holding that
district court‘s sua sponte dismissal on statute of limitations
grounds was improper' because defendant waived the defense by
failing to plead it); Harris v. Secretarv. U.S. Dep't of Veterans
Affairs, 126 F.3d 339 (D.C. Cir. 1997) (holding that affirmative
defenses must be raised in a responsive pleading rather than in a
dispositive motion).

For the reasons above, Defendants’ motion is GRANTED.

_3_

Case 2:04-CV-02626-SHI\/|-tmp Document 64 Filed 08/16/05 Page 4 of 6 Page|D 49

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

 

Date

Case 2:04-CV-02626-SHI\/|-tmp Document 64 Filed 08/16/05 Page 5 of 6 Page|D 50
IT IS SO oRDERED.

T`L'J M. P;»§AM
United States Magistrate Judge

 

Au@w\_ l(», 2005

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:04-CV-02626 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

ESSEE

 

Stephen G. Smith

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Jerry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Gregory Bray

Northwest Correctional Complex
128878

960 State Route 212

Tiptonville7 TN 38079

Honorable Samuel Mays
US DISTRICT COURT

